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               EXHIBIT 4
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                                             Affordable Housing for Rent
                                             553 WEST 30TH STREET
                                             107 NEWLY CONSTRUCTED UNITS AT 553 West 30th Street, New York, NY 10001
                                             CHELSEA
                                             Amenities: 24-hour attended lobby, on-site resident manager, gym, party room, children’s playroom, laundry room.
                                             Transit: Trains: 7/A/C/E/1/2/3, Buses: M12/M34
                                             No application fee • No broker’s fee • Smoke-free building

This building is being constructed through Low Income Housing Tax Credit Program (LIHTC) of New York State Homes and
Community Renewal and is anticipated to receive a Tax Exemption through the 421-a Tax Incentive Program of the New York City
Department of Housing Preservation.
Who Should                                  Individuals or households who meet the             A percentage of units is set aside for applicants with disabilities:
Apply?                                      income and household size requirements                   o Mobility (5%)
                                            listed in the table below may apply. Qualified           o Vision/Hearing (2%)
                                            applicants will be required to meet additional     Preference for a percentage of units goes to:
                                            selection criteria. Applicants who live in New           o Residents of Manhattan Community Board 4 (50%)
                                            York City receive a general preference for               o Municipal employees (5%)
                                            apartments.


AVAILABLE UNITS AND INCOME REQUIREMENTS
                                                                              Annual Household                                                                 Annual Household
                                           Monthly Units          Household                                                 Monthly Units          Household
      Unit Size                                                                   Income3                                                                          Income3
                                            Rent1 Available         Size2                                                    Rent1 Available         Size2
                  50% AREA MEDIAN INCOME




                                                                                                   60% AREA MEDIAN INCOME

                                                                              Minimum – Maximum4                                                               Minimum – Maximum4

                                                                  1 person    $31,303 - $36,550                                                    1 person    $37,578 - $43,860
       Studio                               $858       1      →                                                             $1,041    23       →
                        (AMI) UNITS




                                                                                                         (AMI) UNITS




                                                                  2 people    $31,303 - $41,750                                                    2 people    $37,578 - $50,100
                                                                  1 person    $33,532 - $36,550                                                    1 person    $40,252 - $43,860
 1 bedroom                                  $921       1      →                                                             $1,117    28       →
                                                                  2 people    $33,532 - $41,750                                                    2 people    $40,252 - $50,100
                                                                  2 people    $40,218 - $41,750                                                    2 people    $48,275 - $50,100
 2 bedroom                                 $1,115      3      →   3 people    $40,218 - $46,950                             $1,350    51       →   3 people    $48,275 - $56,340
                                                                  4 people    $40,218 - $52,150                                                    4 people    $48,275 - $62,580

  1
    Rent includes heat, hot water, and gas for cooking. Tenant pays electricity.
  2
    Household size includes everyone who will live with you, including parents and children. Subject to occupancy criteria.
  3
    Household earnings includes salary, hourly wages, tips, Social Security, child support, and other income. Income guidelines subject to change.
  4
    Minimum income listed may not apply to applicants with Section 8 or other qualifying rental subsidies. Asset limits also apply.

 How Do You Apply?
 Apply online or through mail. To apply online, please go to nyc.gov/housingconnect. To request an application by mail, send a self-
 addressed envelope to: 553W30 Apartments, P.O. Box 8630, New York, NY 10116. Only send one application per development. Do
 not submit duplicate applications. Do not apply online and also send in a paper application. Applicants who submit more than one
 application may be disqualified.
 When is the Deadline?
 Applications must be postmarked or submitted online no later than December 13, 2018. Late applications will not be considered.
 What Happens After You Submit an Application?
 After the deadline, applications are selected for review through a lottery process. If yours is selected and you appear to qualify, you will
 be invited to an appointment for eligibility to continue the process of determining your eligibility. Appointments are usually scheduled
 from 2 to 10 months after the application deadline. You will be asked to bring documents that verify your household size, identity of
 members of your household, and your household income.

Español                 Presente una solicitud en línea en nyc.gov/housingconnect. Para recibir una traducción de español de este anuncio y la solicitud
                        impresa, envíe un sobre con la dirección a: 553W30 Apartments, P.O. Box 8630, New York, NY 10116. En el reverso del sobre,
                        escriba en inglés la palabra “SPANISH.” Las solicitudes se deben enviar en línea o con sello postal antes de 13 de diciembre 2018.
简体中文                    访问 nyc.gov/housingconnect 在线申请。如要获取本广告及书面申请表的简体中文版，请将您的回邮信封寄送至：553W30 Apartments,
                        P.O. Box 8630, New York, NY 10116. 信封背面请用英语注明“CHINESE”。必须在以下日期之前在线提交申请或邮寄书面申请 2018 年
                        12 月 13 日。
Русский                 Чтобы подать заявление через интернет, зайдите на сайт: nyc.gov/housingconnect. Для получения данного объявления и заявления на
                        русском языке отправьте конверт с обратным адресом по адресу 553W30 Apartments, P.O. Box 8630, New York, NY 10116. На задней
                        стороне конверта напишите слово “RUSSIAN” на английском языке. Заявки должны быть поданы онлайн или отправлены по почте (согласно
                        дате на почтовом штемпеле) не позднее 13 декабрь 2018.

한국어                     nyc.gov/housingconnect 에서 온라인으로 신청하십시오. 이 광고문과 신청서에 대한 한국어 번역본을 받아보시려면 반송용
                        봉투를 553W30 Apartments, P.O. Box 8630, New York, NY 10116. 으로 보내주십시오. 봉투 뒷면에 “KOREAN” 이라고 영어로
                        적어주십시오. 2018 년 12 월 13 일까지 온라인 신청서를 제출하거나 소인이 찍힌 신청서를 보내야 합니다.
Kreyòl                  Aplike sou entènèt sou sitwèb nyc.gov/housingconnect. Pou resevwa yon tradiksyon anons sa a nan lang Kreyòl Ayisyen ak aplikasyon
Ayisyien                an sou papye, voye anvlòp ki gen adrès pou retounen li nan: 553W30 Apartments, P.O. Box 8630, New York, NY 10116. Nan dèyè
                        anvlòp la, ekri mo “HATIAN CREOLE” an Anglè. Ou dwe remèt aplikasyon yo sou entènèt oswa ou dwe tenbre yo anvan dat desanm
                        13, 2018.
      ‫العربية‬              ‫ أرسل‬،‫لحصول علىترجمةباللغة العربية ل هذا اإلعالن ولنموذج الطلب الورقي‬ ‫ ل‬. nyc.gov/housingconnect ‫كتروني‬     ‫تقدمبطلب عن طريق اإلنترنت على الموقع اإلل‬
                      ‫ اكتبباللغة اإلنجليزية كلمة‬،‫على الجهة الخلفية للمظروف‬553W30 Apartments, P.O. Box 8630, New York, NY 10116 :‫مظروفيحمل اسمك وعنوانك إلى‬
                                                                             . 2018 ،‫ ديسمبر‬13 ‫بريقبل‬ ‫يجب إرسال نماذج الطلبات عن طريق اإلنترنت أو ختمهابختم ال د‬."ARABIC"

        Governor Andrew Cuomo • Mayor Bill de Blasio • HPD Commissioner Maria Torres-Springer • HCR Commissioner/CEO RuthAnne Visnauskas
